Case 6:00-cv-00603-RFD-MEM Document 48 Filed 04/04/01 Page 1 of 3 PagelD #: 242

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UNITED STATES DISTRICT COURT ROBERT H. SH CLERK
WESTERN DISTRICT OF LOUISIANA alia ©
LAFAYETTE - OPELOUSAS DIVISION
GREIG, ET AL., No. 6:2000cv00603
Plaintiffs
versus Judge Doherty
CITY OF ST. MARTINVILLE, ET AL.,
Defendants Magistrate Judge Methvin

 

CITY OF ST. MARTINVILLE’S STIPULATION
REGARDING ONE MAN, ONE VOTE PRINCIPLE

The City of St. Martinville (the “City’) hereby stipulates for the purposes of this
litigation, and this litigation only, that the districts from which members to the city council
are elected, as presently constituted, are malapportioned in population in that some
districts have significantly more persons than other districts, and that if an election were
held using the districts as currently constituted, the one-man, one-vote provisions of the

Constitution would be violated.’

 

' See, e.g., Turner v. McKeithen, 490 F.2d 191, 192 (5th Cir. 1973)(“Prior to trial, the parties
stipulated that the existing apportionment scheme was unconstitutional due to significant deviations from
the ‘one man — one vote’ principle.”); Burton v. Sheheen, 793 F.Supp. 1329, 1336 n. 2 (D.S.C. 1992)(“At
trial, all parties stipulated the existing plans were unconstitutionally apportioned because of gross population
disparities among the districts in the respective plans.”), vacated on other grounds sub nom. Statewide
Reapportionment Advisory Committee v. Theodore, 508 U.S. 968 (1993). Tucker v. Burford, 603 F.Supp.
276, 277 (N.D. Miss. 1985)(“In the present case, the defendants have conceded that the voting districts are
malapportioned and must be redistricted.”).

 

 
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Respectfully submitted,

PERRET DOISE,
A Professional Law Corporation

BY: GT
GARY J. RUSSO, #10828
CAMILLE BIENVENU POCHE, #22597
600 Jefferson St., Ste. 1200
P.O. Drawer 3408
Lafayette, LA 70502-3408
: Telephone: (337) 262-9000
Fax: (337) 262-9001

Attorneys for the City of St. Martinville

CERTIFICATE
| hereby certify that a copy of the above and foregoing has been forwarded to all

parties to this proceeding, by hand delivery, by facsimile transmission, or by depositing
same in the United States mail, postage prepaid and properly addressed, this 4th day of

April, 2001.
Breen foeer, ean SD

Camille Bienvenu Poché

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A PROFESSIONAL LAW CORPORATION
CAMILLE BIENVENU POCHE SUITE | 200, FIRST NATIONAL BANK TOWERS MAILING ADDRESS
CPOCHE@PERRETDOISE COM R E Cc F | V F 'D) GOO JEFFERSON STREET P © DRAWER 3408
LAFAYETTE, LOUISIANA 7O5O! LAFAYETTE, LOUISIANA 70502-3408
TELEPHONE (337) 262-9000 OUR FILE NUMBER
FACSIMILE (337) 262-900 |
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ROBERT H. SHEMWELL, CLERK :
Westtan pisTaIc? of Louisiana APril 4, 2001
SHREVEPORT, LOUISIANA

VIA HAND DELIVERY

Clerk of Court

U. S. District Court

Western District of Louisiana
800 Lafayette St., Suite 2100
Lafayette, LA 70501

Re: Errol Greig, et al. vs. City of St. Martinville, et al., No. 6:2000cv00603
U.S.D.C., Western District of Louisiana, Lafayette-Opelousas Division
Judge Doherty, Magistrate Judge Methvin

Dear Sir/Madame:

Enclosed is the original and one copy of the City of St. Martinville’s Stipulation por’
Regarding One Man, One Vote Principle. Please file the original into the record of the
above-referenced matter, stamp the enclosed copy with filing information, and return the oul
stamped copy to the courier delivering this letter.

Thanking you for your assistance, | remain
Sincerely,
Camille Bienvenu Poché

CPB/ag] coc06.wpd

cc: (w/enclosures)
Honorable Rebecca Doherty (via hand delivery)
Mr. Michael Zwibelman (via facsimile and mail)
Mr. Richard Spears (via facsimile and mail)
Client

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